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...

                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


      UNITED STATES OF AMERICA                     NO. l:23-cr-148

                V.                                 (Judge Carlson)          FILED
                                                                        HARRISBURG, PA



                                                                          :~t~
      ANTON PANIN,
              Defendant
                                                                  PER


                            MOTION FOR DETENTION

           AND NOW comes the United States of America, by its

      undersigned counsel and, pursuant to Title 18 U.S.C., Section 3142,

      hereby requests detention of the above-named defendant, and sets forth

      in support thereof:

       X   1.    That the government is entitled to a detention hearing

      based upon the following:

           _ _ a.     Defendant is charged with a crime of violence as defined

                      in Title 18 U.S.C. Section 3156 or an offense listed in

                      Title 18 U.S.C. 2332b(g)(5)(B) for which a maximum

                      term of imprisonment of 10 years or more is prescribed,

                      see 18 U.S.C. Section 3142(f)(l)(A); or


           _ __ b .    Defendant is charged with an offense for which the
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.,.


                  maximum sentence is life imprisonment or death,

                  see 18 U.S.C. Section 3142(f)(l)(B); or


      _ _ _ c.    Defendant is charged with an offense for which a

                  maximum term of imprisonment of 10 years or more

                  is prescribed in the Controlled Substances Act (Title

                  21, U .S.C. Section 801 et seq.) , or Section 1 of the Act

                  of September 15, 1980 (Title 21 , U.S.C. , Section

                  955a) ; See 18 U.S.C. Section 3142(f)(l)(C) or


      ___ d.      Defendant is presently charged with a felony and

                  has been convicted of two or more offenses described in

                  subparagraph a-c above, or two or more state or local

                  offenses that would have been offenses described in

                  subparagraphs a-c above if a circumstance giving rise

                  to federal jurisdiction had existed or a combination of

                  such offenses; See 18 U .S .C. Section 3142(f)(l)(D); or


      _ __ e.     Defendant is charged with a felony that is not otherwise

                  a crime of violence that involves a minor victim or

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            that involves the possession or use of a firearm or

            destructive device, or involves a failure to register

            under section 2250 of Title 18, United States Code , See

            18 U.S.C. Section 3142(f)(l)(E).


_ X__ f.    That a serious risk exists that defendant will flee; See

            18 U.S.C. Section 3142(f)(2)(A) or


_X__ g.     That a serious risk exists that defendant will obstruct

            or attempt to obstruct justice or threaten, injure or

            intimidate or attempt to threaten, injure or intimidate,

            a prospective witness or juror. See 18 U.S.C. Section

            3142(f)(2)(B).


2.    That a rebuttable presumption arises that no condition or

      combination of conditions will reasonably assure the safety

      of any other person and the community, in that:


     a.     That defendant has been convicted of a federal offense

            described in subsection l(a)-(d) above , or of a state or

            local offense that would have been an offense
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           described      1n   subsection   l(a)-(d)   above     if   a

           circumstance g1v1ng rise to federal jurisdiction had

           existed;


     b.    That the offenses described in paragraphs l(a)-(d)

           above were committed while defendant was on

           release pending trial for a federal, state or local

           offense; and


     c.    A period of not more than five years has elapsed since

           the date of defendant's conviction or release from

           imprisonment for the offenses described in paragraph

           l(a)-(d) whichever is later. See 18 U.S.C. Section

           3142(e).


3.    That a rebuttable presumption arises that no condition or

      combination of conditions will reasonably assure the

      appearance of Defendant as required and the safety of the

      community, in that:

     a.    Defendant committed an offense for which a

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                maximum term of imprisonment of ten years or more is

                prescribed in the Controlled Substances Act (Title 21 ,

                U.S.C. , Section 801 et. seq.), Section 1 of the Act of

                September 15, 1980 (Title 21 , U.S.C., Section 955a; or

         b.     Defendant committed an offense under Title 18,

                U .S.C. , Section 924(c), that is, defendant did during

                and in relation to any crime of violence or drug

                trafficking crime use or carry a firearm ; or

         c.     Defendant committed an offense for which a

                maximum term of imprisonment of ten years or more

                is prescribed or an offense involving a minor victim

                under Title 18, U.S.C. , Sections 1201 , 1591 , 2241-42,

                2244-45, 2251-52, 2260, 2421-23 or 2425. See 18

                U.S.C. Section 3142(e).

X   4.    The Government further submits that no condition or

          combination of conditions will reasonably assure the

          appearance of defendant as required and the safety of any

          other person and the community because:

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          X   a.   Defendant is a danger to any other person or the

                   community, and/or;


          X   b.   Defendant is a flight risk.



 X   5.       The defendant is currently in custody on other matters.

              The United States requests the entry of a detention order at

              this time without prejudice to a full detention hearing in

              the event that the defendant's custodial status changes.

     6.       The United States requests a continuance of three days

              in which to prepare for a hearing on this motion.

                                       Respectfully submitted,

                                       GERARD M. KARAM
                                       United States Attorney

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